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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                  No.     21-cr-00165-TSC
DONA SUE BISSEY,                          )
                                          )
            Defendant.                    )
__________________________________________)

             JOINT MOTION TO CONVERT STATUS TO PLEA HEARING

       Ms. Dona Bissey, through undersigned counsel, and joined with the United States,

requests that this Honorable Court covert the status hearing currently set for July 19, 2021 at

10:00 a.m. to a plea hearing, and as grounds states:

   1. On February 23, 2021, Ms. Bissey was charged by criminal complaint with Knowingly

       Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,

       in violation of 18 U.S.C. § 1752(a)(1) and (2); and Violent Entry and Disorderly Conduct

       on Capitol Grounds, in violation of 40 U.S.C. § 5104(e)(2)(D) and (G). See ECF No. 1.

   2. On February 24, 2021, Ms. Bissey was arrested in her home state of Indiana.

   3. On March 1, 2021, Ms. Bissey had an Initial Appearance in the U.S. District Court for

       the District of Columbia. At that hearing, Magistrate Faruqui released Ms. Bissey on her

       personal recognizance, subject to conditions. See ECF No. 5.

   4. Also, on March 1, 2021, the government filed a formal information against Ms. Bissey,

       charging her with the same violations noted above. See ECF No. 6.

   5. On March 12, 2021, this Court arraigned Ms. Bissey on the information and set a status

       date. See Minute Entry.




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6. On May 17, 2021, this Court held a status conference where the parties explained that

   discovery and plea negotiations were ongoing. This Court set a new status conference for

   July 19, 2021 at 10:00 a.m., but also advised that, “Per chance the status hearing converts

   to a plea hearing, copy plea documents are due in chambers a week in advance.” See

   Minute Entry.

7. Subsequent to the last status date, Ms. Bissey expressed her desire to accept a plea offer

   tendered by the government.

8. Therefore, the next status date set for July 19, 2021 at 10:00 a.m. is no longer needed, and

   instead, a plea hearing is requested.

9. As ordered by the Court, the parties will submit the plea paperwork to the Court at least

   one week in advance.




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   WHEREFORE, Ms. Bissey asks this Honorable Court to convert the status hearing currently

scheduled for July 19, 2021 at 10:00 a.m., to a plea hearing on the same date and time.



                                             Respectfully submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER


                                             ____________/s/______________
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